                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS


In re:
TOP LINE GRANITE DESIGN INC.                    Case No. 22-40216-EDK

                                                Chapter 11
                            Debtor.


                              CERTIFICATE OF SERVICE

I, Michael Van Dam, hereby certify that on this 24th day of June 2022, I have served the
Motion upon the following parties, via the CM/ECF system:



Alan L. Braunstein on behalf of Debtor Top Line Granite Design Inc.
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Respectfully Submitted
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